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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

GERALD LYNN BOSTOCK,                    )
                                        )
              Plaintiff,                )
                                        )
v.                                      )         CIVIL ACTION
                                        )         NO: 1:16-cv-01460-ELR
CLAYTON COUNTY,                         )
                                        )
              Defendant.                )

          CONSENT MOTION TO STAY PENDING MEDIATION

      COME NOW the parties and jointly move the Court to enter an order staying

all deadlines in this matter, including the deadline for filing objections to the

magistrate judge’s final report and recommendation, pending the outcome of the

parties’ forthcoming mediation.

      The parties have agreed to mediate this matter with Henning Mediation &

Arbitration and intend to schedule this mediation to occur in September or early

October 2022. The parties intend to use the requested stay to prepare for and

participate in this mediation to further the goal of resolving this matter without the

need for further litigation. If this stay is granted, the parties will notify the Court

within five business days after the mediation as to whether or not the mediation was

successful.

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      The parties further request that the Court’s order provide that, in the event the

mediation is unsuccessful, the parties’ deadline for filing objections to the magistrate

judge’s final report and recommendation (Doc. 166) be extended to ten days after

the date of the mediation, with all other deadlines to be extended accordingly.

      Therefore, the parties respectfully request that this Court stay all deadlines in

this case so that they may mediate their dispute. A proposed order is attached for the

Court’s convenience.

      Respectfully submitted, this 4th day of August, 2022.

CONSENTED TO BY:

 /s/ Edward D. Buckley                      /s/ Jack R. Hancock
 Edward D. Buckley                          Jack R. Hancock
 Georgia Bar No. 092750                     Georgia Bar No. 322450
 Andrew M. Beal                             William H. Buechner, Jr.
 Georgia Bar No. 043842                     Georgia Bar No. 086392
 Thomas J. Mew, IV                          Michael M. Hill
 Georgia Bar No. 503447                     Georgia Bar No. 770486
 BUCKLEY BEAL, LLP                          FREEMAN MATHIS & GARY, LLP
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 Counsel for Plaintiff                      Counsel for Defendant


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                    CERTIFICATE OF COMPLIANCE

     I hereby certify that the within and foregoing CONSENT MOTION TO

STAY PENDING MEDIATION has been prepared in compliance with Local Rule

5.1(B) in 14-point Times New Roman type face.

     This 4th day of August, 2022.


                                           /s/ Jack R. Hancock
                                           Jack R. Hancock
                                           Georgia Bar No. 322450




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                         CERTIFICATE OF SERVICE

      I hereby certify that I served the attached notice and subpoena on the witness

or his/her agent and have electronically filed the foregoing CONSENT MOTION

TO STAY PENDING MEDIATION with the Clerk of Court using the CM/ECF

system, which will send notification of such filing to the following attorneys of

record:

                                Edward D. Buckley
                                Thomas J. Mew, IV
                                   Andrew Beal
                                Buckley Beal LLP
                        600 Peachtree Street, NE, Suite 3900
                                Atlanta, GA 30308

      This 4th day of August, 2022.

                                         FREEMAN MATHIS & GARY, LLP

                                         /s/ Jack R. Hancock
                                         Jack R. Hancock
                                         Georgia Bar No. 322450




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